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               Exhibit A
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                      Supporting Counsel
          Timothy G. Blood                          Arthur M. Murray
   Blood Hurst & O’Reardon, LLP                     Murray Law Firm
      Iron Wing v. Facebook, Inc.                 Gennock v. Facebook, Inc.
            No. 18-cv-2122                            No. 18-cv-1915
       O’Hara v. Facebook, Inc.
            No. 18-cv-0571                        Karen Hanson Riebel
                                             Lockridge Grindal Nauen P.L.L.P
David S. Casey, Jr. and Gayle M. Blatt           Gennock v. Facebook, Inc.
  Casey Gerry Schenk Francavilla                     No. 18-cv-1915
        Blatt & Penfield, LLP
       Gerena v. Facebook, Inc.                     Rosemary M. Rivas
           No. 18-cv-2201                         Levi & Korsinsky, LLP
                                               Vance-Guerbe v. Facebook, Inc.
          James E. Cecchi                             No. 18-cv-2987
   Carella, Byrne, Cecchi, Olstein,
       Brody & Agnello, P.C.             Christopher A. Seeger and Stephen A. Weiss
     Malskoff v. Facebook, Inc.                      Seeger Weiss LLP
            No. 18-cv-3393                        Malskoff v. Facebook, Inc.
                                                       No. 18-cv-3393
         Daniel C. Hedlund
       Gustafson Gluek PLLC                           Michael W. Sobol
      Schinder v. Facebook, Inc.                Lieff, Cabraser, Heimann &
           No. 18-cv-2571                              Bernstein, LLP
                                                  Beiner v. Facebook, Inc.
          Derek W. Loeser                              No. 18-cv-1953
       Keller Rohrback L.L.P
      Haslinger v. Facebook, Inc.                    James C. Vlahakis
           No. 18-cv-1984                        Sulaiman Law Group, Ltd.
                                                  Comforte v. Facebook, Inc.
          Gary F. Lynch                                No. 18-cv-3394
    Carlson Lynch Sweet Kilpela
         & Carpenter, LLP                              Tina Wolfson
     Gennock v. Facebook, Inc.                   Ahdoot & Wolfson, P.C.
          No. 18-cv-1915                       Diaz Sanchez v. Facebook, Inc.,
                                                      No. 18-cv-2381
    Dee Miles and Archie Grubb
   Beasley, Allen, Crow, Methvin,                     Lesley E. Weaver
        Portis & Miles, P.C.                    Bleichmar Fonti & Auld LLP
     Williams v. Facebook, Inc.                   Schinder v. Facebook, Inc.
           No. 18-cv-3676                              No. 18-cv-2571
